                  EXHIBIT D




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                    IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

JASON WILLIAMS,
                                                      Case No. 5:19-cv-00475-BO
       Plaintiff,
                                                DEFENDANT AT&T MOBILITY
vs.                                           LLC’S ANSWERS AND OBJECTIONS
                                                TO PLAINTIFF’S FIRST SET OF
AT&T MOBILITY LLC,
                                                     INTERROGATORIES
       Defendant.


      Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Rules

26.1 and 33.1 of the Local Rules for the Eastern District of North Carolina, Defendant

AT&T Mobility LLC (“AT&T”), acting by and through its undersigned counsel, hereby

serves its Objections and Answers to Plaintiff Jason Williams’ First Set of

Interrogatories to Defendant.

      All responses are based on the information and documents presently available

and known to AT&T, based on a reasonable search of the locations that responsive

information is most likely to be found. Further discovery, investigation, research and

analysis may supply additional facts and/or add meaning to known facts, and AT&T

reserves the right to amend or supplement its responses in accordance with the Rules

of Civil Procedure. Further, in providing these responses, AT&T makes no admission

as to the relevance or admissibility of any information set forth and expressly

reserves all objections regarding relevancy, admissibility or otherwise.




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           OBJECTIONS APPLICABLE TO ALL INTERROGATORIES

      1.       AT&T objects to each interrogatory that seeks information or material

that is subject to any applicable privilege, including attorney-client and/or attorney

work product privileges.

      2.       AT&T objects to each interrogatory that seeks the production of

information or material that is protected by the right to privacy.

      3.       AT&T objects to each interrogatory that seeks the production of

information or material that constitutes confidential, proprietary and/or trade secret

information.

      4.       AT&T objects to each interrogatory, instruction, and definition that

seeks to alter the permissible scope of discovery under, or impose obligations upon

AT&T that are inconsistent with, the Federal Rules of Civil Procedure.

      5.       AT&T objects to each interrogatory seeking the disclosure or

identification of “any” or “all” items within a category of information, when all

relevant facts can be obtained from the disclosure or identification of fewer than “any”

and “all” of such items, or when AT&T could not identify “any” and “all” such items

pursuant to a reasonable search.

      6.       AT&T objects to the definition of “you,” “your,” and “Defendant” as vague

and overbroad. AT&T will only respond on behalf of AT&T Mobility LLC, and will

provide only information that is within AT&T Mobility LLC’s possession, custody, or

control, and is reasonably available to AT&T Mobility LLC.




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   SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES

      1.     Identify any of AT&T’s present and former agents, employees,
managers, executives, contractors, franchisees, Authorized Retailers, and/or
Authorized Retailer employees, managers, executives, or contractors that worked on,
dealt with, discussed, or otherwise were involved with the Williams Account(s), and
provide the full names, telephone numbers, email addresses, and employee ID
numbers of any such persons or entities.

      ANSWER:       AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects that the interrogatory is overly broad and seeks information

not relevant to the incidents at issue, insofar as it requests information about every

interaction any individual had with Mr. Williams’s account since its inception (which

Mr. Williams contends was twenty years ago “in the year 2000,” see Plaintiff’s First

Requests for Production, Request No. 2), the majority of which have no probative

value with respect to the claims or defenses in this matter. AT&T further objects that

AT&T cannot reasonably be expected to know or have a record of every instance that

an individual “discussed” Mr. Williams’s account, and that the interrogatory is

impermissibly vague and ambiguous with respect to the phrases “worked on,” “dealt

with,” “or otherwise were involved with” Mr. Williams’s account. AT&T further

objects to the interrogatory as seeking information not in AT&T’s possession, custody,

or control, insofar as it seeks the contact and personal information of individuals who

are not AT&T employees.



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      Subject to and without waiving its objections, AT&T states that the account

notes for Mr. Williams’s account indicate the following persons performed the SIM

changes that the complaint alleges were unauthorized:

          •   Stephen Defiore (sd732f), an employee or contractor of Prime
              Communications, L.P. or its predecessor at the time of the SIM change;

          •   Marcus Vasquez (mv177q), an employee or contractor of Alorica, Inc. at
              the time of the SIM change;

          •   Sydney Hancock (sh487q), at the time of the SIM change, a retail store
              employee at the AT&T retail store located at 502 Shawnee Mall Dr.,
              Shawnee, Oklahoma 74804 – AT&T does not possess current contact
              information for Sydney Hancock;

          •   Gabriel Jimenez (gj639s), an employee or contractor of Alorica, Inc. at
              the time of the SIM change;

          •   Rex Mostoles (rx8926), an employee or contractor of TPUSA, Inc. at the
              time of the SIM change;

          •   Vanessa Libanan (vl828b), an employee or contractor of Convergys
              Customer Management Group Inc. n/k/a Concentrix Corporation at the
              time of the SIM change.

      Subject to and without waiving its objections, and pursuant to Fed. R. Civ. P.

33(d), AT&T further states that additional information regarding interactions with

Mr. Williams or his AT&T account is located in the account notes for Mr. Williams’s

account which AT&T will be producing in response to Mr. Williams’s First Requests

for Production, and that the burden of identifying such information will be

substantially the same for Mr. Williams as for AT&T.




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2.    Identify any of AT&T’s present and former agents, employees, managers,
executives, contractors, franchisees, Authorized Retailers, and/or Authorized Retailer
employees, managers, executives, or contractors that communicated with Plaintiff, or
any person purporting to be or to act on behalf of Plaintiff, or any person purporting
to have authority to access or modify any information concerning the Williams
Account(s), and provide the full names, telephone numbers, email addresses, and
employee ID numbers of any such persons or entities.

      ANSWER:       AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects that the interrogatory is overly broad and seeks information

not relevant to the incidents at issue, insofar as it requests information about every

communication any individual had with Mr. Williams, the majority of which have no

probative value with respect to the claims or defenses in this matter. AT&T further

objects that AT&T cannot reasonably be expected to know or have a record of every

instance that an individual communicated with Mr. Williams. AT&T further objects

to the interrogatory as seeking information not in AT&T’s possession, custody, or

control, insofar as it seeks the contact and personal information of individuals who

are not AT&T employees.

      Subject to and without waiving its objections, and pursuant to Fed. R. Civ. P.

33(d), AT&T states that information regarding interactions with Mr. Williams is

located in the account notes for Mr. Williams’s account which AT&T will be producing

in response to Mr. Williams’s First Requests for Production, and that the burden of




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identifying such information will be substantially the same for Mr. Williams as for

AT&T.

3.    Identify any numbers, names, or other identifiers either temporarily or
permanently associated with the Williams Account(s), including any technical
support and/customer service ticket numbers.

      ANSWER:       AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects that the interrogatory is vague and ambiguous with respect to

its request for “numbers, names, or other identifiers either temporarily or

permanently associated with” Mr. Williams’s account.

      Subject to and without waiving its objections, AT&T states that the Billing

Account Number (“BAN”) for Mr. Williams’s account is 534115196684. AT&T further

states, pursuant to Fed. R. Civ. P. 33(d), that additional information regarding

customer service ticket numbers or identifiers on Mr. Williams may be located in the

account notes for Mr. Williams’s account which AT&T will be producing in response

to Mr. Williams’s First Requests for Production and that the burden of identifying

such information will be substantially the same for Mr. Williams as for AT&T.




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4.    Identify and describe each instance in which Plaintiff, or any person
purporting to be or to act on behalf of Plaintiff, or any person purporting to have
authority to access or modify any information concerning the Williams Account(s),
contacted AT&T to request a SIM Swap.

      ANSWER: Pursuant to Fed. R. Civ. P. 33(d), AT&T states that responsive

information is located in the account notes for Mr. Williams’s account, which AT&T

will be producing in response to Mr. Williams’s First Requests for Production, and

that the burden of locating the entries in the account notes referencing requests for

SIM changes will be substantially the same for Mr. Williams as for AT&T.



5.    Identify each email address, telephone number, or other identifying
information used by Plaintiff, or any person purporting to be or to act on behalf of
Plaintiff, or any person purporting to have authority to access or modify any
information concerning the Williams Account(s), when contacting AT&T.

      ANSWER:       AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects that AT&T cannot reasonably be expected to know or have a

record of every type of identifying information proffered by Williams or any person

purporting to be Mr. Williams during every encounter with a store representative,

call center agent, or representative of AT&T.

      Subject to and without waiving its objections, AT&T states that the account

notes for Mr. Williams’s account indicate the following email addresses were used or




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attempted    to   be   used   in   connection    with   Mr.    Williams’s    account:

j.williams@fastmed.com, jasonwilliamseow@gmail.com, jasonwilliams@yahoo.com.

      Subject to and without waiving its objections, and pursuant to Fed. R. Civ. P.

33(d), AT&T further states that to the extent additional responsive information

exists, it can be found in the account notes for Mr. Williams’s account, which AT&T

will be producing in response to Mr. Williams’s First Requests for Production. The

burden of locating the entries in the account notes referencing the requested

information will be substantially the same for Mr. Williams as for AT&T.



6.   Provide the full names, telephone numbers, email addresses, and employee ID
numbers of the following individuals:

      (a)   Jessica, as described in Complaint Paragraph 74;
      (b)   Hassan, as described in Complaint Paragraph 74;
      (c)   Rex Mostoles, believed to have an employee ID number of RX8927, as
            described in Complaint Paragraph 75, and partially identified in Your
            Initial Disclosures;
      (d)   Stephen Defiore, as partially identified in Your Initial Disclosures;
      (e)   Marcus Vasquez, as partially identified in Your Initial Disclosures;
      (f)   Sydney Hancock, as partially identified in Your Initial Disclosures;
      (g)   Gabriel Jimenez, as partially identified in Your Initial Disclosures;
      (h)   Vanessa Libanan, as partially identified in Your Initial Disclosures.

      ANSWER: AT&T objects to this interrogatory as seeking information not in

AT&T’s possession insofar as it seeks the personal or private telephone numbers,

email addresses or other contact information of the referenced individuals, of which

AT&T does not maintain any records. AT&T further objects to subparts (c), (d), (e),



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(g) and (h) of this interrogatory as seeking information not within AT&T’s possession,

custody or control, as the referenced individuals are not employed by AT&T.

      Subject to and without waiving its objections, AT&T states:

      (a) Jessica Drewry (jd428v). Ms. Drewry is a former employee of AT&T

Mobility Services LLC. AT&T does not possess current contact information for Ms.

Drewry.

      (b) Hassan Rmeiti (hr504c). Mr. Rmeiti is a former employee of AT&T Mobility

Services LLC. AT&T does not possess current contact information for Mr. Rmeiti.

      (c) Rex Mostoles (rx8926). Upon information and belief, any available contact

information may be obtained from TPUSA, INC.

      (d) Stephen Defiore (sd732f). Upon information and belief, any available

contact information may be obtained from Prime Communications, L.P.

      (e) Marcus Vasquez (mv177g). Upon information and belief, any available

contact information may be obtained from Alorica Inc.

      (f) Sydney Hancock (sh487g). Ms. Hancock is a former employee of AT&T

Mobility Services LLC. AT&T does not possess current contact information for Ms.

Hancock.

      (g) Gabriel Jimenez (gj639s). Upon information and belief, any available

contact information may be obtained from Alorica Inc.

      (h) Vanessa Libanan (vl828b). Upon information and belief, any available

contact information may be obtained from Convergys Customer Management Group

Inc. n/k/a Concentrix Corporation.


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7.    Identify any of AT&T’s present and former agents, employees, managers,
executives, contractors, franchisees, Authorized Retailers, and/or Authorized Retailer
employees, managers, executives, or contractors that changed, modified, or altered
the Williams Account(s), or attempted to so, including the actual or attempted
changing of any passcode, PIN, passwords, or other login or security information
associated with the Williams Account(s), and provide the full names, telephone
numbers, email addresses, and employee ID numbers of any such persons or entities.

      ANSWER:       AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects to the interrogatory as vague and ambiguous with respect to

the phrase “changed, modified, or altered the Williams Account(s),” and will interpret

that phrase to mean changes to the passcodes, login information, or email addresses,

or SIM changes, on Mr. Williams’s account. AT&T further objects to this

interrogatory as overly broad and seeking information not relevant to the claims or

defenses in this matter insofar as it seeks information about activity on Mr.

Williams’s account that has no connection to any of the incidents alleged in the

complaint. AT&T further objects that AT&T has no reasonable way to know or keep

a record of each instance that an individual may have “attempted” to, but did not,

make a change to Mr. Williams’s account. AT&T further objects to the interrogatory

as seeking information not in AT&T’s possession, insofar as it requests information

about individuals who are not AT&T employees.

      Subject to and without waiving its objections, AT&T incorporates and restates

its responses to Interrogatories Nos. 1 and 6. Pursuant to Fed. R. Civ. P. 33(d), AT&T


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further states that additional responsive information is located in the account notes

for Mr. Williams’s account, which AT&T will be producing in response to Mr.

Williams’s First Requests for Production, and that the burden of locating such

information will be substantially the same for Mr. Williams as for AT&T.

8.    Identify and describe each instance when any of AT&T’s present and former
agents, employees, contractors, franchisees, Authorized Retailers, and/or Authorized
Retailer employees changed, modified, or altered the Williams Account(s), or
attempted to so, including the actual or attempted changing of any passcode, PIN,
passwords, or other login or security information associated with the Williams
Account(s).

      ANSWER:       AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects to the interrogatory as vague and ambiguous with respect to

the phrase “changed, modified, or altered the Williams Account(s),” and will interpret

that phrase to mean changes to the passcodes, login information, or email addresses,

or SIM changes, on Mr. Williams’s account. AT&T further objects to this

interrogatory as overly broad and seeking information not relevant to the claims or

defenses in this matter insofar as it seeks information about activity on Mr.

Williams’s account that has no connection to any of the incidents alleged in the

complaint. AT&T further objects that AT&T has no reasonable way to know or keep

a record of each instance that an individual may have “attempted” to, but did not,

make a change to Mr. Williams’s account.



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      Subject to and without waiving its objections, AT&T incorporates and restates

its responses to Interrogatories Nos. 1 and 6. Pursuant to Fed. R. Civ. P. 33(d), AT&T

further states that additional responsive information is located in the account notes

for Mr. Williams’s account, which AT&T will be producing in response to Mr.

Williams’s First Requests for Production, and that the burden of locating such

information will be substantially the same for Mr. Williams as for AT&T.



9.    From January 1, 2007 to the date of this request, describe any training that
AT&T provides or provided, arranges or arranged, organizes or organized, or
otherwise makes or made available to its agents, employees, contractors, franchisees,
Authorized Retailers, and/or Authorized Retailer employees concerning SIM
Swapping, including:

      (a)    whether such training is or was mandatory;
      (b)    how AT&T provides or provided such training and ensures that it is or
             was taken;
      (c)    the date such training is or was implemented (and discontinued if
             applicable); and
      (d)    how AT&T creates or created and updates or updated such training.

      ANSWER:        AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects that the interrogatory is overly broad, and vague and

ambiguous with respect to the term “concerning SIM Swapping.” AT&T further

objects to this request on the basis that it seeks information protected by the attorney-

client and/or attorney work product privileges. AT&T further objects to this

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interrogatory on the basis that it seeks proprietary, confidential and/or trade secret

information.

      Subject to and without waiving its objections, AT&T states that it maintains

and regularly updates a comprehensive series of mandatory training programs

designed to, among other things, protect the security of customer accounts and

prevent unauthorized account activity, including SIM swapping, both internally and

externally with employees, third-party authorized retailers, call center operators,

and other vendors.

      AT&T also facilitates training on a variety of subjects, many of which also cover

SIM changes. AT&T’s internal and external educational and training initiatives

include mandatory employee and third-party vendor training programs that use

varying instructional methods to inform, teach and review employees’ knowledge.

They also provide employees and third-party vendors with a platform to practice their

knowledge and skills to help protect customers.

      These     training   programs   include   instruction   on   fraud   prevention,

authentication, social engineering, protection of Customer Proprietary Network

Information (“CPNI”), and account verification. Example compliance courses for

Authorized Retail representatives include “AT&T Voicemail Security,” “CPNI,”

“Preventing Fraud,” and “Social Engineering Awareness.”

      Similarly, the mandatory training courses that AT&T customer-facing

employees must complete include, but are not limited to, the following:

         •     AT&T Code of Business Conduct (annual)

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         •   CPNI Best Practices, updated (annual)

         •   Fraud Awareness and Prevention (annual)

         •   Protecting and Understanding CPNI (annual)

         •   Social Engineering – Security Awareness (annual)

      Additionally, representatives who have access to customer accounts are

required to be adequately trained on AT&T’s authentication processes to validate an

existing customer’s identity prior to making any changes, updates, or providing any

information in relation to an account.

      All new AT&T employees are required to complete New Hire Training tailored

to their future roles in the Company within their first weeks and months on the job.

This training consists of general corporate compliance training on topics such as

AT&T’s Code of Business Conduct and AT&T’s Privacy and Information Security

course that all employees must complete, as well as specific training relevant to the

individual’s job functions. For example, newly hired call center representatives must

complete training on critical topics, including how to protect CPNI, within 30 days of

hire and before handling customer calls. Employees undergoing training on fraud

awareness and prevention learn how preventing fraud will provide benefits to the

customer: “Deliver the best customer service experience,” “Make it seamless by

transferring customers to the appropriate department,” and “Resolve fraud issues.”

      In addition to training, AT&T runs awareness campaigns to remind employees

of key issues between training courses. AT&T training provides in-depth instruction

about specific topics, while awareness campaigns are intended to reinforce that

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training and keep it top-of-mind for employees. Awareness campaigns may focus on

general issues to keep awareness of certain risks on a regular basis, such as social

engineering.

      AT&T’s Chief Security Office teams also flag areas of vulnerability based on

AT&T’s experience with fraudulent activity or information gathered from third-party

sources. Teams within AT&T’s Chief Security Office then develop awareness

campaigns targeted to the areas of security concerns, including educating customer

representatives on the risk of social engineering and how to avoid falling victim to

social engineering attacks.

      Regarding the administration of training programs, AT&T administers its

training program through a comprehensive course curriculum, and it raises

awareness on these key issues throughout the Company on an ongoing basis. AT&T

primarily administers its multilayered training program through its flagship

development and training program, AT&T University (sometimes “TU” or

“TUniversity”), which is managed by Human Resources (“HR”). AT&T University

provides interactive training courses that include self-paced online training courses

and instructor-led sessions and simulations.

      AT&T University’s courses contain multiple lessons on a particular topic, and

include “Check Your Knowledge” assessments at the end of each lesson. Some

training courses require employees to complete an assessment at course completion

and score an 80% or higher. Many of the instructor-led classes are highly interactive,




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and some include simulations, emulators, or skills practice that allow employees to

practice what they have learned.

      Employees are required to retake training courses when AT&T University’s

Curriculum Design team makes a material change/update in the policies and

procedures covered by that training. AT&T’s teams and departments submit the

material changes/updates to the Curriculum Design team via a feedback form that is

regularly distributed by the team. A course is updated if its content is outdated or

incorrect. If the changes to the courses include material changes of approximately

20% or more, measured qualitatively and quantitatively, that course is removed from

the system and a new course is launched. Moreover, sales representatives and other

customer-facing employees are required to complete the “Fraud Awareness and

Prevention” and “Social Engineering Awareness” courses annually. AT&T mandates

an overall minimum 95% completion rate for the relevant employees, and no

employee can miss training two years in a row.

      AT&T tracks its employee training completion using a tool called Corporate

Compliance Reporting, which maintains reports on which employees have completed

trainings. The compliance department within HR tracks completion and sends a

report to the leader of the employees’ respective team or department. The leader of

the team or department is responsible for pursuing employees to ensure that they

complete the training. AT&T’s vendors are responsible for tracking the training

completion of the vendor’s employees, and for providing written confirmation to

AT&T that all training has been completed.


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10.   From January 1, 2007 to the date of this request, identify and describe any
AT&T policies, procedures, internal controls, training, or other information
concerning:

      (a)    The protection of Customer Proprietary Network Information (or
             CPNI) and other sensitive customer data; and
      (b)    SIM Swapping.

      ANSWER: AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects to this interrogatory’s request for information concerning CPNI

as overly broad and seeking information not relevant to the merits of any claim or

defense in this matter. Mr. Williams has not plausibly alleged any fact or

circumstance, and AT&T is aware of no fact or circumstance, indicating that Mr.

Williams’s CPNI was disclosed to any individual who impersonated Mr. Williams or

breached any of Mr. Williams’s non-AT&T accounts, or that any of Mr. Williams’s

CPNI facilitated, enabled, or proximately caused any of the events giving rise to the

damages Mr. Williams asserts in this action. AT&T further objects to this request on

the basis that it seeks information protected by the attorney-client and/or attorney

work product privileges. AT&T further objects to this interrogatory on the basis that

it seeks proprietary, confidential and/or trade secret information. AT&T further

objects to this interrogatory’s request for information on training as duplicative of

Interrogatory No. 9. AT&T further objects to this interrogatory as vague and




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ambiguous with respect to the phrases “other information” and “other sensitive

customer data.”

      Subject to and without waiving its objections, and pursuant to Fed. R. Civ. P.

33(d), AT&T states that responsive information is located in AT&T’s policy

documents concerning SIM changes, customer verification and account change

procedures, which AT&T will be producing in response to Mr. Williams’s First

Requests for Production, and that the burden of identifying the responsive

information in those materials will be substantially the same for Mr. Williams as for

AT&T. In addition, AT&T will produce a copy of its privacy policy(ies) and policies

designed to protect subscriber confidential information and CPNI in effect during the

period of unauthorized SIM changes Mr. Williams alleges in the complaint.



11.   If any of the individuals You identify in response to Interrogatories 1, 2, 6, or
7 have been terminated, provide the date of and reason for each individual’s
termination.

      ANSWER: AT&T objects to this interrogatory as seeking information not in

AT&T’s possession, custody, or control, insofar as the interrogatory seeks information

regarding the rationale and actions of third-party entities with respect to the

termination of their own employees. AT&T further objects to this interrogatory as

overly broad and seeking irrelevant information insofar as it seeks information

regarding the termination of any individual who Mr. Williams does not allege

engaged in any improper conduct regarding Mr. Williams’s AT&T account. Similarly,

this request is overly broad insofar as it seeks information regarding the termination


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of any employee who has ever interacted with Mr. Williams’s account or

communicated with Mr. Williams, without any indication that such interaction or

communication was in any way improper.

      Subject to and without waiving its objections, AT&T states that employee

Sidney Hancock was terminated on December 11, 2018 for attendance issues. AT&T

lacks sufficient knowledge or information regarding whether the individuals not

employed by AT&T and identified in response to Interrogatories 1, 2, 6, or 7 have

been terminated by their employers identified in those responses, and AT&T states

that their employers may have such information.



12.    Describe AT&T’s past and current business relationships with the following
entities:

      (a) Prime;
      (b) Alorica;
      (c) Teleperformance; and
      (d) Concentrix.

      ANSWER: AT&T objects to this interrogatory as vague and ambiguous with

respect to “describe” AT&T’s “business relationship” with the identified entities.

AT&T will interpret the interrogatory as seeking the identification of the general role

of the entities with respect to AT&T’s operations and the general services the entities

provide.

      Subject to and without waiving AT&T’s objections, AT&T states that Prime is

an authorized retailer of AT&T services, and that Alorica, Teleperformance and

Concentrix are vendors that provide call center support services.
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13.   From January 1, 2007 to the date of this request, identify and describe any
instances where an AT&T customer alleged to AT&T that they were subject to a SIM
Swap.

      ANSWER:       AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects that the interrogatory seeks confidential information regarding

AT&T’s communications and interactions with, and services provided to, other AT&T

subscribers. AT&T further objects that the interrogatory is overly broad and seeks

irrelevant information regarding allegations raised by other AT&T subscribers who

are non-parties to this action and whose allegations are immaterial to the merits of

Mr. Williams’s claims regarding his own interactions with AT&T.         Because Mr.

Williams has alleged that AT&T violated its duties to him and his claims will

therefore rise or fall based on the evidence concerning his own interactions with

AT&T, the burden of identifying, collecting, and reproducing information regarding

other customers’ experiences is not proportional to the needs of the case and would

far outweigh any likely benefit of the disclosure of such information in this matter.

AT&T further objects because the requested information is protected against

disclosure by applicable federal and state law and authorities, including by not

limited to the Federal Communications Act, 47 U.S.C. § 222, the Stored

Communications Act, 18 U.S.C. § 2707, and the Electronic Communications Privacy




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Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further objects to this request on the

basis that it seeks information protected by the privacy right of third parties.



14.   From January 1, 2007 to the date of this request, identify and describe any all
claims, lawsuits, and administrative or regulatory actions Concerning SIM
Swapping.

      ANSWER:       AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this

matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects that the interrogatory is overly broad and seeks irrelevant

information regarding claims raised by individuals who are non-parties to this action

and whose allegations are immaterial to the merits of Mr. Williams’s claims

regarding his own interactions with AT&T. Because Mr. Williams has alleged that

AT&T violated its duties to him and his claims will therefore rise or fall based on the

evidence concerning his own interactions with AT&T, the burden of identifying,

collecting, and reproducing information regarding other customers’ experiences is not

proportional to the needs of the case and would far outweigh any likely benefit of the

disclosure of such information in this matter. AT&T further objects because the

requested information is protected against disclosure by applicable federal and state

law and authorities, including by not limited to the Federal Communications Act, 47

U.S.C. § 222, the Stored Communications Act, 18 U.S.C. § 2707, and the Electronic

Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further objects


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to this interrogatory as overly broad because, as worded, it seeks information

regarding legal proceedings that do not involve AT&T.

      Subject to and without waiving its objections, AT&T states that it is currently

aware of the following lawsuits of public record regarding SIM changes and to which

AT&T is a named party:

          •   Drzal v. Spring Communications Holding, LLC et al., No. D-1-GN-19-
              007003 (Travis Co. Ct., Texas); Filed 3/13/2020

          •   Ross v. AT&T Mobility LLC, No. 3:19-cv-6669 (N.D. Cal.); Filed
              10/17/2019

          •   Sutton v. AT&T Corporation, No. 2020-CV-46788 (Coffee Co. Ct.,
              Tennessee); Filed May 18, 2020

          •   Shapiro v. AT&T Mobility LLC, No. 2:19-cv-8972 (C.D. Cal.); Filed
              10/17/2019

          •   Terpin v. AT&T Mobility LLC, No. 2:18-cv-6975 (C.D. Cal.); Filed
              8/15/2018

          •   Williams v. AT&T Mobility LLC, No. 5:19-cv-0475 (E.D.N.C.); Filed
              10/24/2019


15.    From January 1, 2007 to the date of this request, identify any of AT&T’s
present and former agents, employees, managers, executives, contractors,
franchisees, Authorized Retailers, and/or Authorized Retailer employees, managers,
executives, or contractors that are and/or were responsible for the protection and
security of AT&T customers’ Data and privacy, including protection from SIM Swaps
and provide the full names, telephone numbers, email addresses, and employee ID
numbers of any such persons or entities, as well as the date ranges when those
persons had such responsibilities. This requests includes the identity and contact
information of any managers or executives who lead groups, departments, or
divisions responsible for the protection and security of AT&T customers’ Data and
privacy, including members of AT&T’s Leadership.

      ANSWER:       AT&T objects to this interrogatory as lacking a reasonable

temporal limitation. The complaint alleges the incidents underlying the claims in this
                                         22


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matter occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and

AT&T’s response will therefore be limited to information relevant to that time period.

AT&T further objects that the interrogatory is vague and ambiguous with respect to

the phrase “responsible for the protection and security of AT&T customers’ Data and

privacy.” All AT&T employees have obligations regarding data security and privacy

issues, and all AT&T employees therefore have some level of responsibility

concerning those matters. Moreover, responsibility for data security issues may be

distinct from responsibility for issues concerning subscriber privacy, and AT&T is

therefore unable to determine from the interrogatory, as worded, which of its

personnel would be responsive. For the same reasons, AT&T also objects to the

interrogatory as overly broad and unreasonably burdensome in that it appears to seek

the identity of countless AT&T present and former employees over more than the

past decade.

      AT&T will not respond to the interrogatory as worded, but welcomes the

opportunity to meet and confer with Mr. Williams’s counsel to agree upon an

appropriate scope for the information Mr. Williams seeks.




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                        KILPATRICK TOWNSEND & STOCKTON LLP




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                        Counsel for Defendant AT&T Mobility LLC




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                                 VERIFICATION

       I, Paula M. Phillips, am over the age of 18 and of sound mind. I am the Legal
Administrator of AT&T Services, Inc. I hereby verify the interrogatory responses
contained in AT&T Mobility LLC’s Objections and Answers to Plaintiff Jason
Williams’ First Set of Interrogatories to Defendant and am duly authorized to do so.
I further state that, to the extent any matters stated therein are not within my
personal knowledge, the facts stated therein have been assembled by authorized
persons, I have been informed that those facts are true.

       I declare under penalty of perjury of the laws of the United States of America
that the foregoing is true and correct.

      Dated: July 20, 2020

                                ________________________________________
                                Paula M. Phillips
                                Legal Administrator, AT&T Services, Inc.




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                          CERTIFICATE OF SERVICE

     I hereby certify that on date set out below, I served a true copy of the foregoing

DEFENDANT AT&T MOBILITY LLC’S OBJECTIONS AND ANSWERS TO

PLAINTIFF’S FIRST SET OF INTERROGATORIES by electronic mail,

pursuant to the agreement of counsel for all parties, to all counsel of record and

additional persons listed below:

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                                     Laura.Gosheff@withersworldwide.com




      This the 20th day of July, 2020.




                                                Joseph S. Dowdy




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